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SEALED

UNITED STATES DISTRICT COURT

United States Courts
Southern District of Texas
FILED

OCT 13 2021

Nathan Ochsner, Clerk of Court

SOUTHERN DISTRICT OF TEXAS
CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA

§
$ |
v. § CRIMINAL NUMBER
§
CLINTON COOKS § C _- 2 ] _ 8 g A
INDICTMENT
THE GRAND JURY CHARGES THAT:
COUNT ONE

On or about between June 15, 2021 and June 16, 2021, in the Corpus Christi Division of
the Southern District of Texas and within the jurisdiction of the Court, the defendant,

CLINTON COOKS,

knowingly possessed a firearm and ammunition in and affecting interstate commerce, to wit: a
Bryco Arms Pistol, Model: M48, Caliber: .380 Auto, Serial Number: 874500; and 4 rounds of .380
caliber ammunition with headstamp "Tulammo 380 ACP", having previously been convicted in
any court of a crime punishable by imprisonment for a term exceeding one year (a felony offense),
and knowing that he was a person who has been convicted of a felony offense.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

 

A TRUE BILL:

ORIGINAL SIGNATURE ON FILE
FOREPERSON OF THE GRAND JURY

JENNIFER B. LOWERY
ACTING UNIFED STATES ATTORNEY

By: taller
MOLLY KéSMITH
Assistant United States Attorney

 
